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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


LARRY LABUL, LOCAL #817 IBT PENSION FUND,
LOCAL 272 LABOR-MANAGEMENT
PENSION FUND, LOCAL 282 PENSION
TRUST FUND AND LOCAL 282 WELFARE
TRUST FUND, LOCAL 464A UNITED
FOOD AND COMMERCIAL WORKERS
UNION PENSION AND WELFARE SERVICE
BENEFIT FUNDS, XPO INVESTOR GROUP,
BRADLEY COOPER and ELENA PARASKEVA
           Plaintiffs,

v.                                                      Case No.: 3:18-cv-02062-SRU


XPO LOGISTICS, INC. and
BRADLEY S. JACOBS,
           Defendants.

                                          JUDGMENT

       This matter came on before the Honorable Stefan R. Underhill, United States District

Judge as a result of the defendant’s Motion to Dismiss (Doc. 137).

       The Court has considered all papers filed in conjunction with said motion and on March

19, 2021 entered a ruling (Doc. 144) granting Defendant’s motion.

       Therefore, it is ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of defendants XPO Logistics, Inc. and Bradley S. Jacobs and against the plaintiffs all in

accordance with the Court’s order and the case is closed.

       Dated at New Haven, Connecticut this 22nd day of March 2021.


                                                    ROBIN D. TABORA, Clerk

EOD: 03/22/21                                       By /s/ Donna Barry
                                                        Deputy Clerk
